                Case 23-10831-MFW   Doc 986-3    Filed 02/14/24     Page 1 of 13




                                       EXHIBIT B

                                      Expense Detail

           Professional             User Date          Amount ($)        Expense Description
KEVIN LISANTI                       9/19/2023              $28.38   EMPLOYEE MEAL
LARS HULTGREN                       9/20/2023               $9.37   TAXI
LARS HULTGREN                       9/20/2023              $18.00   TAXI
LARS HULTGREN                       9/21/2023              $29.37   EMPLOYEE MEAL
LARS HULTGREN                       9/22/2023              $27.14   EMPLOYEE MEAL
LARS HULTGREN                       9/26/2023              $30.00   EMPLOYEE MEAL
LARS HULTGREN                       9/26/2023              $10.47   TAXI
LARS HULTGREN                       9/27/2023              $27.16   EMPLOYEE MEAL
LARS HULTGREN                       9/27/2023               $9.12   TAXI
LARS HULTGREN                       9/28/2023              $29.37   EMPLOYEE MEAL
LARS HULTGREN                       9/28/2023              $15.23   TAXI
LARS HULTGREN                       9/29/2023              $30.00   EMPLOYEE MEAL
JEFFREY FINGER                       10/4/2023             $55.00   EMPLOYEE MEAL
RYAN HAMILTON                       10/4/2023              $55.00   EMPLOYEE MEAL
LARS HULTGREN                       10/5/2023              $30.00   EMPLOYEE MEAL
LARS HULTGREN                       10/5/2023              $13.95   TAXI
LARS HULTGREN                       10/6/2023              $29.51   EMPLOYEE MEAL
DENTONS                             10/31/2023          $8,409.00   LEGAL
DENTONS                             11/30/2023          $6,195.00   LEGAL
DENTONS                             12/31/2023          $7,635.00   LEGAL
Total Expense                                          $22,686.07
            Case 23-10831-MFW           Doc 986-3Dentons
                                                    FiledUS 02/14/24
                                                            LLP                   Page 2 dentons.com
                                                                                         of 13
                                                   233 South Wacker Drive
                                                   Suite 5900
                                                   Chicago, Illinois 60606-6361



 Jefferies LLC
 520 Madison Avenue                                                                            November 14, 2023
 New York NY 10022
 United States                                                                                Invoice No. 2684314

Client/Matter: 09806540-000061

Lordstown Motors
8396
                                                                                        Payment Due Upon Receipt



Total This Invoice                                                                        $            8,409.00




                           Please return this page with your payment
               To pay by E-Check - https://www.e-billexpress.com/ebpp/DentonsUS

 Payments by check should be sent to:                   Payment by wire transfer/ACH should be sent to:
          Dentons US LLP                                                  Citi Private Bank
             Dept. 3078                         OR            227 West Monroe, Chicago, IL 60606
    Carol Stream, IL 60132-3078                                     ABA Transit #
                                                                     Account #:
                                                                 Account Name: Dentons US LLP
                                                                      Swift Code:
                                                            Reference: Invoice # and/or client matter #


        **Please validate any request to change/update electronic payment instructions on
                 file or mailing address by contacting Dentons US LLP directly**


           Please send payment remittance advice information to cashreceipts@dentons.com
                         In order to guarantee proper allocation of payments


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                    Questions relating to this invoice should be directed to:
                                           T. Labuda
                                      at 1 312 876 8000
                      Case 23-10831-MFW          Doc 986-3       Filed 02/14/24           Page 3 of 13
                                                               Dentons US LLP                    dentons.com
                                                               233 South Wacker Drive
                                                               Suite 5900
                                                               Chicago, Illinois 60606-6361




 Jefferies LLC                                                                                      November 14, 2023
 520 Madison Avenue
 New York NY 10022                                                                                 Invoice No. 2684314
 United States

Client/Matter: 09806540-000061

Lordstown Motors
8396
___________________________________________________________________________________________________

For Professional Services Rendered through October 31, 2023:

Date            Timekeeper                       Hours         Amount Narrative
10/05/23        T. Labuda                          0.80        1,080.00 Review and comment on Finger sale
                                                                        declaration.
10/05/23        T. Labuda                          0.10          135.00 Emails with Finger and Hamilton re declaration
                                                                        comments.
10/06/23        S. Ruben                           0.10            66.00 Review interim compensation procedures.
10/07/23        T. Labuda                          0.30          405.00 Review and comment on further revised Finger
                                                                        sale declaration.
10/07/23        T. Labuda                          0.10          135.00 Emails with client team re revised declaration.
10/10/23        T. Labuda                          0.10          135.00 Emails with Finger and Passoni re additional
                                                                        parties in interest.
10/10/23        T. Labuda                          0.20          270.00 Review revised sale declaration.
10/10/23        T. Labuda                          0.10          135.00 Emails with client team re revised sale
                                                                        declaration.
10/10/23        S. Ruben                           0.10            66.00 Correspond with J. Finger, C. Passoni, and T.
                                                                         Labuda re supplemental PII list.
10/12/23        S. Ruben                           0.10            66.00 Correspond with T. Labuda re interim and
                                                                         monthly fee application.
10/13/23        T. Labuda                          0.20          270.00 Review revised sale declaration.
10/13/23        T. Labuda                          0.10          135.00 Emails with client re revised sale declaration.
10/15/23        S. Ruben                           0.10            66.00 Correspond with R. Hamilton and T. Labuda re
                                                                         sale declaration.
10/15/23        T. Labuda                          0.20          270.00 Review revised sale declaration.
10/15/23        T. Labuda                          0.10          135.00 Emails with client re revised declaration.
10/18/23        S. Ruben                           0.10            66.00 Correspond with C. Passoni, and T. Labuda re
                                                                         supplemental PII list.
10/19/23        S. Ruben                           0.10            66.00 Conference with T. Labuda re interim and
                                                                         monthly fee application.




                                                          2
                    Case 23-10831-MFW   Doc 986-3    Filed 02/14/24      Page 4 of 13




Lordstown Motors
8396
                                                                                             November 14, 2023
Matter: 09806540-000061
Invoice No.: 2684314

Date           Timekeeper               Hours       Amount Narrative
10/19/23       S. Ruben                  0.70        462.00 Draft interim fee application.
10/19/23       S. Ruben                  0.10          66.00 Correspond with K. Lisanti re monthly and
                                                             interim fee application.
10/19/23       T. Labuda                 0.20        270.00 Conference with Ruben re interim
                                                            compensation procedures and fee filings.
10/19/23       T. Labuda                 0.10        135.00 Emails with client team re fee filings.
10/24/23       T. Labuda                 0.30        405.00 Emails and conference with client re fee filings
                                                            timing and procedures.
10/24/23       S. Ruben                  0.20        132.00 Conference with R. Hamilton and T. Labuda re
                                                            interim fee application.
10/24/23       S. Ruben                  0.10          66.00 Conference with T. Labuda re interim and
                                                             monthly fee application.
10/25/23       S. Ruben                  0.10          66.00 Conference with T. Labuda re interim and
                                                             monthly fee application.
10/25/23       S. Ruben                  0.80        528.00 Draft monthly fee application.
10/26/23       S. Ruben                  0.60        396.00 Draft monthly fee application.
10/26/23       S. Ruben                  0.10          66.00 Correspond with T. Labuda re interim and
                                                             monthly fee application.
10/26/23       T. Labuda                 0.10        135.00 Emails with Ruben re consolidated fee
                                                            statement.
10/30/23       S. Ruben                  0.10          66.00 Conference with T. Labuda re interim and
                                                             monthly fee application.
10/31/23       S. Ruben                  2.90       1,914.00 Draft consolidated monthly and interim fee
                                                             applications.
10/31/23       S. Ruben                  0.10          66.00 Correspond with T. Labuda re interim and
                                                             monthly fee applications.
10/31/23       T. Labuda                 0.10        135.00 Emails with Ruben re consolidated monthly and
                                                            interim fee filings.
Total Hours                              9.50
Fee Amount                                                                                            $ 8,409.00




                                                3
                    Case 23-10831-MFW     Doc 986-3   Filed 02/14/24     Page 5 of 13




Lordstown Motors
8396
                                                                                        November 14, 2023
Matter: 09806540-000061
Invoice No.: 2684314



                                        TIME AND FEE SUMMARY


       Timekeeper                                           Rate            Hours                   Fees
       T. Labuda                                       $ 1,350.00            3.10              $ 4,185.00
       S. Ruben                                          $ 660.00            6.40              $ 4,224.00
       Totals                                                                9.50              $ 8,409.00

                     Fee Total                              $       8,409.00



                     Invoice Total                          $          8,409.00




                                              4
            Case 23-10831-MFW           Doc 986-3Dentons
                                                    FiledUS 02/14/24
                                                            LLP                   Page 6 dentons.com
                                                                                         of 13
                                                   233 South Wacker Drive
                                                   Suite 5900
                                                   Chicago, Illinois 60606-6361



 Jefferies LLC
 520 Madison Avenue                                                                            December 18, 2023
 New York NY 10022
 United States                                                                                Invoice No. 2713151

Client/Matter: 09806540-000061

Lordstown Motors
8396
                                                                                        Payment Due Upon Receipt



Total This Invoice                                                                        $            6,195.00




                           Please return this page with your payment
               To pay by E-Check - https://www.e-billexpress.com/ebpp/DentonsUS

 Payments by check should be sent to:                   Payment by wire transfer/ACH should be sent to:
          Dentons US LLP                                                  Citi Private Bank
             Dept. 3078                         OR            227 West Monroe, Chicago, IL 60606
    Carol Stream, IL 60132-3078                                     ABA Transit #
                                                                     Account #:
                                                                 Account Name: Dentons US LLP
                                                                      Swift Code:
                                                            Reference: Invoice # and/or client matter #


        **Please validate any request to change/update electronic payment instructions on
                 file or mailing address by contacting Dentons US LLP directly**


           Please send payment remittance advice information to cashreceipts@dentons.com
                         In order to guarantee proper allocation of payments


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                    Questions relating to this invoice should be directed to:
                                           T. Labuda
                                      at 1 312 876 8000
                      Case 23-10831-MFW         Doc 986-3         Filed 02/14/24           Page 7 of 13
                                                                Dentons US LLP                    dentons.com
                                                                233 South Wacker Drive
                                                                Suite 5900
                                                                Chicago, Illinois 60606-6361




 Jefferies LLC                                                                                       December 18, 2023
 520 Madison Avenue
 New York NY 10022                                                                                  Invoice No. 2713151
 United States

Client/Matter: 09806540-000061

Lordstown Motors
8396
___________________________________________________________________________________________________

For Professional Services Rendered through November 30, 2023:

Date           Timekeeper                       Hours           Amount Narrative
11/01/23       S. Ruben                           0.10              66.00 Correspond with T. Labuda re interim and
                                                                          monthly fee applications.
11/01/23       S. Ruben                           0.50            330.00 Draft consolidated monthly and interim fee
                                                                         applications.
11/01/23       S. Ruben                           0.10              66.00 Correspond with K. Lisanti and deal team re
                                                                          monthly and interim fee applications.
11/01/23       S. Ruben                           0.10              66.00 Conference with R. Hamilton re monthly fee
                                                                          application.
11/01/23       T. Labuda                          0.50            675.00 Review and comment on draft consolidated
                                                                         monthly fee statement and interim application.
11/01/23       T. Labuda                          0.10            135.00 Emails with Ruben re fee filing comments.
11/02/23       T. Labuda                          0.10            135.00 Emails with client and Ruben re fee filing
                                                                         materials.
11/02/23       S. Ruben                           0.10              66.00 Correspond with L. Hultgren and deal team re
                                                                          monthly and interim fee applications.
11/09/23       T. Labuda                          0.10            135.00 Emails with client re interim fee application.
11/09/23       S. Ruben                           0.10              66.00 Correspond with S. Ludovici and R. Hamilton re
                                                                          monthly and interim fee applications.
11/10/23       S. Ruben                           0.30            198.00 Conference with T. Labuda re interim and
                                                                         monthly fee applications.
11/10/23       S. Ruben                           0.20            132.00 Correspond with L. Hultgren and deal team re
                                                                         monthly and interim fee applications.
11/10/23       S. Ruben                           1.50            990.00 Draft consolidated monthly and interim fee
                                                                         applications.
11/10/23       S. Ruben                           0.20            132.00 Conference with L. Hultgren re monthly and
                                                                         interim fee applications.
11/10/23       S. Ruben                           0.10              66.00 Correspond with S. Ludovici re monthly and
                                                                          interim fee applications.




                                                         2
                    Case 23-10831-MFW   Doc 986-3    Filed 02/14/24      Page 8 of 13




Lordstown Motors
8396
                                                                                            December 18, 2023
Matter: 09806540-000061
Invoice No.: 2713151

Date           Timekeeper               Hours       Amount Narrative
11/10/23       T. Labuda                 0.20        270.00 Emails and conference with Ruben re fee filings
                                                            comments and questions.
11/10/23       S. Ruben                  0.10         66.00 Correspond with T. Labuda re interim and
                                                            monthly fee applications.
11/11/23       S. Ruben                  0.10         66.00 Correspond with S. Ludovici re monthly and
                                                            interim fee applications.
11/11/23       T. Labuda                 0.10        135.00 Emails with Ruben and W&C re fee filings.
11/13/23       S. Ruben                  0.10         66.00 Correspond with D. Detweiler and M. Patterson
                                                            re monthly and interim fee applications.
11/13/23       S. Ruben                  0.10         66.00 Conference with T. Labuda re interim and
                                                            monthly fee applications.
11/13/23       T. Labuda                 0.20        270.00 Emails and conference with Ruben re interim
                                                            fee filings.
11/14/23       T. Labuda                 0.20        270.00 Emails with Ruben and company counsel re fee
                                                            filings.
11/14/23       S. Ruben                  0.10         66.00 Correspond with C. Giobbe and S. Ludovici re
                                                            monthly and interim fee applications.
11/14/23       S. Ruben                  0.40        264.00 Draft consolidated monthly and interim fee
                                                            applications.
11/14/23       S. Ruben                  0.10         66.00 Conference with L. Hultgren re monthly and
                                                            interim fee applications.
11/14/23       S. Ruben                  0.20        132.00 Correspond with T. Labuda re interim and
                                                            monthly fee applications.
11/14/23       S. Ruben                  0.10         66.00 Correspond with J. Finger and deal team re
                                                            monthly and interim fee applications.
11/14/23       S. Ruben                  0.20        132.00 Prepare consolidated monthly and interim fee
                                                            applications for filing.
11/15/23       S. Ruben                  0.10         66.00 Conference with T. Labuda re interim and
                                                            monthly fee applications.
11/15/23       S. Ruben                  0.10         66.00 Correspond with R. Hamilton and deal team re
                                                            filed monthly and interim fee applications.
11/22/23       T. Labuda                 0.20        270.00 Emails with client team re fee filings.
11/24/23       S. Ruben                  0.10         66.00 Correspond with L. Hultgren re monthly and
                                                            interim fee applications.




                                                3
                     Case 23-10831-MFW     Doc 986-3    Filed 02/14/24      Page 9 of 13




Lordstown Motors
8396
                                                                                               December 18, 2023
Matter: 09806540-000061
Invoice No.: 2713151

Date            Timekeeper                 Hours       Amount Narrative
11/27/23        S. Ruben                    0.10         66.00 Conference with T. Labuda re interim and
                                                               monthly fee applications.
11/27/23        S. Ruben                    0.30        198.00 Draft second consolidated monthly fee
                                                               application.
11/27/23        T. Labuda                   0.10        135.00 Conference with Ruben re monthly fee
                                                               statement and final fee application.
11/30/23        T. Labuda                   0.10        135.00 Emails with Hultgren re fee filing materials.
Total Hours                                 7.40
Fee Amount                                                                                             $ 6,195.00



                                         TIME AND FEE SUMMARY


       Timekeeper                                              Rate            Hours                           Fees
       T. Labuda                                         $ 1,350.00             1.90                   $ 2,565.00
       S. Ruben                                            $ 660.00             5.50                   $ 3,630.00
       Totals                                                                   7.40                   $ 6,195.00

                      Fee Total                                $        6,195.00



                      Invoice Total                            $         6,195.00




                                                   4
            Case 23-10831-MFW           Doc 986-3 Dentons
                                                    FiledUS02/14/24
                                                            LLP                   Page 10dentons.com
                                                                                          of 13
                                                   233 South Wacker Drive
                                                   Suite 5900
                                                   Chicago, Illinois 60606-6361



 Jefferies LLC
 520 Madison Avenue                                                                               January 17, 2024
 New York NY 10022
 United States                                                                                 Invoice No. 2719244

Client/Matter: 09806540-000061

Lordstown Motors
8396
                                                                                        Payment Due Upon Receipt



Total This Invoice                                                                         $           7,635.00




                           Please return this page with your payment
               To pay by E-Check - https://www.e-billexpress.com/ebpp/DentonsUS

 Payments by check should be sent to:                   Payment by wire transfer/ACH should be sent to:
          Dentons US LLP                                                  Citi Private Bank
             Dept. 3078                         OR            227 West Monroe, Chicago, IL 60606
    Carol Stream, IL 60132-3078                                     ABA Transit #
                                                                     Account #:
                                                                 Account Name: Dentons US LLP
                                                                      Swift Code:
                                                            Reference: Invoice # and/or client matter #


        **Please validate any request to change/update electronic payment instructions on
                 file or mailing address by contacting Dentons US LLP directly**


           Please send payment remittance advice information to cashreceipts@dentons.com
                         In order to guarantee proper allocation of payments


          All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                    Questions relating to this invoice should be directed to:
                                           T. Labuda
                                      at 1 312 876 8000
                    Case 23-10831-MFW          Doc 986-3         Filed 02/14/24           Page 11 of 13
                                                                Dentons US LLP                   dentons.com
                                                                233 South Wacker Drive
                                                                Suite 5900
                                                                Chicago, Illinois 60606-6361




 Jefferies LLC                                                                                         January 17, 2024
 520 Madison Avenue
 New York NY 10022                                                                                 Invoice No. 2719244
 United States

Client/Matter: 09806540-000061

Lordstown Motors
8396
___________________________________________________________________________________________________

For Professional Services Rendered through December 31, 2023:

Date           Timekeeper                       Hours           Amount Narrative
12/06/23       S. Ruben                           0.10              66.00 Correspond with C. Giobbe re certification of
                                                                          counsel and omnibus order.
12/06/23       S. Ruben                           0.10              66.00 Review certification of counsel and omnibus
                                                                          order.
12/07/23       T. Labuda                          0.20            270.00 Conference and emails with Hamilton re
                                                                         confirmation issues.
12/08/23       S. Ruben                           0.10              66.00 Correspond with M. Patterson re hearing on
                                                                          interim fee applications.
12/08/23       S. Ruben                           0.20            132.00 Conference with T. Labuda re hearing on
                                                                         interim fee application.
12/08/23       S. Ruben                           0.10              66.00 Correspond with T. Labuda re interim fee
                                                                          application.
12/08/23       S. Ruben                           0.10              66.00 Correspond with J. Finger and T. Labuda re
                                                                          hearing on interim fee application.
12/08/23       T. Labuda                          0.20            270.00 Emails with client team and Turetsky re interim
                                                                         fee hearing.
12/08/23       T. Labuda                          0.10            135.00 Emails with Womble team re interim fee
                                                                         hearing.
12/08/23       T. Labuda                          0.10            135.00 Emails with Ruben re interim fee hearing.
12/10/23       S. Ruben                           0.20            132.00 Conference with T. Labuda re hearing on
                                                                         interim fee application.
12/11/23       T. Labuda                          0.30            405.00 Emails and conferences with Ruben re hearing
                                                                         preparation.
12/11/23       T. Labuda                          0.10            135.00 Emails and conference with Ruben re fee
                                                                         hearing.
12/11/23       S. Ruben                           2.60          1,716.00 Prepare for hearing on interim fee application.
12/11/23       S. Ruben                           0.20            132.00 Correspond with J. Finger, R. Hamilton, and L.
                                                                         Hultgren re hearing on monthly and interim fee
                                                                         applications.




                                                         2
                   Case 23-10831-MFW   Doc 986-3    Filed 02/14/24     Page 12 of 13




Lordstown Motors
8396
                                                                                             January 17, 2024
Matter: 09806540-000061
Invoice No.: 2719244

Date           Timekeeper              Hours        Amount Narrative
12/11/23       S. Ruben                  0.20        132.00 Conference with T. Labuda re hearing on
                                                            interim fee application.
12/11/23       S. Ruben                  0.10         66.00 Correspond with M. Patterson re hearing on
                                                            interim fee applications.
12/11/23       S. Ruben                  0.10         66.00 Review and comment on pro hac vice.
12/11/23       S. Ruben                  0.10         66.00 Revise notice of supplement to expense detail.
12/11/23       S. Ruben                  0.20        132.00 Attend hearing on interim fee application.
12/11/23       S. Ruben                  0.10         66.00 Correspond with T. Labuda re hearing on
                                                            interim fee application.
12/12/23       S. Ruben                  0.10         66.00 Correspond with S. Ludovici re monthly and
                                                            interim fee applications.
12/14/23       S. Ruben                  0.10         66.00 Conference with T. Labuda re interim and
                                                            monthly fee applications.
12/19/23       S. Ruben                  0.20        132.00 Conference with L. Hultgren re expenses for
                                                            monthly fee application.
12/19/23       S. Ruben                  0.10         66.00 Correspond with L. Hultgren re monthly fee
                                                            applications.
12/21/23       S. Ruben                  0.10         66.00 Correspond with L. Hultgren re monthly fee
                                                            application.
12/21/23       S. Ruben                  0.10         66.00 Conference with T. Labuda re monthly fee
                                                            application.
12/27/23       T. Labuda                 0.10        135.00 Emails with Ruben re October fee statement.
12/27/23       S. Ruben                  0.10         66.00 Correspond with L. Hultgren re monthly fee
                                                            application.
12/27/23       S. Ruben                  0.20        132.00 Draft October monthly fee application.
12/28/23       S. Ruben                  1.50        990.00 Draft October monthly fee application.
12/28/23       S. Ruben                  0.10         66.00 Correspond with T. Labuda re October monthly
                                                            fee application.
12/29/23       S. Ruben                  0.20        132.00 Conference with T. Labuda re monthly fee
                                                            application.
12/29/23       S. Ruben                  0.10         66.00 Correspond with L. Hultgren and deal team re
                                                            monthly fee application.
12/29/23       S. Ruben                  0.90        594.00 Draft October monthly fee application.




                                                3
                    Case 23-10831-MFW    Doc 986-3    Filed 02/14/24     Page 13 of 13




Lordstown Motors
8396
                                                                                              January 17, 2024
Matter: 09806540-000061
Invoice No.: 2719244

Date            Timekeeper                Hours       Amount Narrative
12/29/23        S. Ruben                   0.20        132.00 Conference with L. Hultgren re monthly fee
                                                              application.
12/29/23        T. Labuda                  0.30        405.00 Review and comment on fee filing.
12/29/23        T. Labuda                  0.10        135.00 Emails and conference with Ruben re fee filing.
Total Hours                               10.00
Fee Amount                                                                                          $ 7,635.00



                                        TIME AND FEE SUMMARY


       Timekeeper                                             Rate           Hours                         Fees
       T. Labuda                                        $ 1,350.00            1.50                  $ 2,025.00
       S. Ruben                                           $ 660.00            8.50                  $ 5,610.00
       Totals                                                                10.00                  $ 7,635.00

                      Fee Total                               $        7,635.00



                      Invoice Total                           $        7,635.00




                                                  4
